22-10920-mg   Doc 4-1   Filed 07/01/22 Entered 07/01/22 18:17:32   Exhibit A   Pg
                                     1 of 29



                               Exhibit A
22-10920-mg    Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32                  Exhibit A      Pg
                                          2 of 29




                                                 VIRGIN ISLANDS




                                         INSOLVENCY ACT


                                              Revised Edition
                                     showing the law as at 1 January 2020

                 This is a revised edition of the law, prepared by the Law Revision Commissioner
                 under the authority of the Law Revision Act 2014.


        This edition contains a consolidation of the following laws—
                                                                                                   Page
        INSOLVENCY ACT                                                                               3
          Act 5 of 2003 .. in force 16 August 2004 (S.I. 47/2004)
           Amended by Acts: 11 of 2004 .. Paragraphs 2(a), 2(b) and 4
                                               – in force 8 December 2006
                                               Remainder - 1 January 2006 (S.I. 57/2004)
                               16 of 2004 .. in force 1 January 2005
                               19 of 2006 .. in force 15 January 2007
                                1 of 2008 .. in force 1 February 2010 (S.I. 63/2009)
                               14 of 2019 .. in force 24 December 2019

        SEE STATUTORY INSTRUMENTS BOOKLET
22-10920-mg          Doc 4-1          Filed 07/01/22 Entered 07/01/22 18:17:32            Exhibit A   Pg
                                                   3 of 29
             LAW OF
          VIRGIN ISLANDS                          Insolvency Act                                 9
     Revision Date: 1 Jan 2020


                                                       PART VI
                                                     LIQUIDATION
                                                     Preliminary
             158.       Application of this Part to Official Receiver
             159.       Appointment of liquidator
             160.       Duration of liquidation
             161.       Appointment of liquidator by members
             162.       Appointment of liquidator by court
             163.       Appointment of liquidator of a foreign company
             164.       Withdrawal of application
             165.       Advertisement of application
             166.       Substitution of applicant
             167.       Court’s power on hearing of an application
             168.       Period within which application shall be determined
             169.       Expenses of an arrangement

                                                    Interim Relief
             170.       Appointment of provisional liquidator
             171.       Rights and powers of provisional liquidator
             172.       Remuneration of provisional liquidator
             173.       Termination of appointment of provisional liquidator
             174.       Power to stay or restrain proceedings etc.

                                                 Effect of Liquidation
             175.       Effect of liquidation
             176.       Restriction on execution or attachment
             177.       Duties of officer in execution of process

                                 Notice of Appointment and First Meetings of Creditors
             178.       Notice of appointment of liquidator
             179.       Liquidator to call first meeting of creditors
             180.       Application to Court by members
             181.       Application of sections 178 and 179
             182.       Restrictions on powers of liquidator appointed by members
             183.       Court appointed liquidator may dispense with creditors’ meeting

                                                     Liquidators
             184.       Status of liquidator
             185.       General duties of liquidator
             186.       General powers of liquidator
             187.       Removal of liquidator
22-10920-mg     Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32                 Exhibit A        Pg
                                          4 of 29
                                                                                LAW OF
    10                                 Insolvency Act                        VIRGIN ISLANDS
                                                                           Revision Date: 1 Jan 2020


      188.    Resignation of liquidator
      189.    Appointment of replacement liquidator
      190.    Remuneration of liquidator
      191.    Notification of liquidation
      192.    Vesting of assets in liquidator

                                           Members
      193.    Settlement of list of members
      194.    Rectification of register of members
      195.    Liability of members limited
      196.    Liability of past members
      197.    Dividends payable to member
      198.    Liability where limited company becomes unlimited company
      199.    Liability where unlimited company becomes limited company
      200.    Liability of personal representative
      201.    Effect of member or past member becoming bankrupt
      202.    Status of personal representative or trustee in bankruptcy
      203.    Insurance and other contracts not affected
      204.    Power of liquidator to enforce liability of member or past member
      205.    Summary remedy against members and past members
      206.    Order under section 205 to be conclusive evidence
      207.    Distribution of assets of company

                                            Claims
      208.    Claims having priority over floating charges
      209.    Claims by unsecured creditors
      210.    Variation, withdrawal and expunging of claims
      211.    Claims by secured creditors
      212.    Redemption of security interest by liquidator
      213.    Realisation of security interest by secured creditor
      214.    Surrender for non-disclosure
      215.    Interest after commencement of liquidation
      216.    Power to exclude creditors not claiming in time

                                          Disclaimer
      217.    Liquidator may disclaim onerous property
      218.    When disclaimer takes effect
      219.    Notice to liquidator to elect whether to disclaim
      220.    Effect of disclaimer
      221.    Vesting orders and orders for delivery
      222.    Vesting orders in respect of leases
      223.    Land subject to rentcharge
      224.    Disclaimer presumed valid
22-10920-mg          Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32              Exhibit A   Pg
                                               5 of 29
             LAW OF
          VIRGIN ISLANDS                        Insolvency Act                                11
     Revision Date: 1 Jan 2020


                                 Investigation of Assets and Affairs of Company
             225.       Statement of affairs
             226.       Preliminary report
             227.       Duty of Official Receiver concerning report under section 226

                                            Miscellaneous Provisions
             228.       Liquidator to call meetings of creditors
             229.       Recession of contracts by the Court
             230.       Inspection of books by creditors
             231.       Enforcement of liquidator’s duties

                                           Termination of Liquidation
             232.       Termination of liquidation
             233.       Order terminating liquidation
             234.       Completion of liquidation
             235.       Release of liquidator
             236.       Dissolution


                                                     PART VII
                                    LIQUIDATION OF INSURANCE COMPANIES
             237.       Interpretation for and scope of this Part
             238.       Liquidation of insurance companies
             239.       Appointment of liquidator by members
             240.       Application for appointment of liquidator by Court
             241.       Reduction of contracts as alternative to winding up
             242.       Continuation of long term business by liquidator appointed by Court
             243.       Protection of segregated funds and assets


                                                     PART VIII
                                            VOIDABLE TRANSACTIONS
             244.       Interpretation for this Part
             245.       Unfair preferences
             246.       Undervalue transactions
             247.       Voidable floating charges
             248.       Extortionate credit transactions
             249.       Orders in respect of voidable transactions
             250.       Limitations on orders under section 249
             251.       Recoveries
             252.       Remedies not exclusive
22-10920-mg     Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32                 Exhibit A        Pg
                                          6 of 29
                                                                                LAW OF
    12                                Insolvency Act                         VIRGIN ISLANDS
                                                                           Revision Date: 1 Jan 2020


                                           PART IX
                                       MALPRACTICE
      253.    Interpretation for this Part
      254.    Summary remedy against delinquent officers and others
      255.    Fraudulent trading
      256.    Insolvent trading
      257.    Recoveries under sections 255 and 256
      258.    Ancillary orders


                                           PART X
                     DISQUALIFICATION ORDERS AND UNDERTAKINGS
      259.    Interpretation for this Part
      260.    Disqualification orders and undertakings
      261.    Application for disqualification order
      262.    Hearing of application for disqualification order
      263.    Matters for determining unfitness of directors
      264.    Disqualification undertaking
      265.    General provisions concerning disqualification orders and undertakings
      266.    Variation of disqualification order or undertaking
      267.    Offence provisions
      268.    Liability for engaging in prohibited activity
      269.    Official Receiver to appear on certain applications
      270.    Register of disqualification orders
      271.    Duties of office holders

                                           PART XI
                    GENERAL PROVISIONS WITH REGARD TO COMPANIES
                        THAT ARE INSOLVENT OR IN LIQUIDATION

                                         Division 1
                                          General
     272.     Interpretation
     273.     Application to Court concerning office holder
     274.     Company’s books
    274A.     Order to deliver assets and documents


                                         Division 2
                                    Statement of Affairs
      275.    Interpretation for this Division
      276.    Notice to be given by office holder
      277.    Statement of Affairs
22-10920-mg          Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32       Exhibit A   Pg
                                               7 of 29
             LAW OF
          VIRGIN ISLANDS                        Insolvency Act                         13
     Revision Date: 1 Jan 2020


             278.       Affidavit of concurrence
             279.       Release from duty to submit statement of affairs
             280.       Application for order of limited disclosure


                                                     Division 3
                                 Investigation of Insolvent Company’s Affairs
                                             Office Holder’s Powers
             281.       Interpretation for this Division
             282.       Power to obtain information
             283.       Examination by office holder


                                            Examination Before Court
             284.       Application for examination before Court
             285.       Order for examination
             286.       Conduct of examination
             287.       Incriminating answers and admissibility of record
             288.       Offence


                                                     Division 4
                                                Offence Provisions
             289.       Fraudulent conduct



                                                      PART XII
                                                   BANKRUPTCY
                                                    Preliminary
             290.       Interpretation
             291.       Application of this Part to Official Receiver


                                                Bankruptcy Order
             292.       Meaning and duration of bankruptcy order
             293.       Conditions for making of bankruptcy order
             294.       Persons who may apply for a bankruptcy order
             295.       Application by debtor
             296.       Creditor’s application
             297.       Substitution of applicant
             298.       Application by secured creditor
             299.       Secured creditor failing to disclose security interest
             300.       Hearing of creditor’s application
22-10920-mg          Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32                   Exhibit A   Pg
                                               8 of 29
             LAW OF
          VIRGIN ISLANDS                       Insolvency Act                                      19
     Revision Date: 1 Jan 2020


             455.       Protection of creditors and other interested persons
             456.       Actions to avoid acts detrimental to creditors
             457.       Intervention by foreign representative in proceedings in the Virgin Islands

                                     Cooperation with Foreign Courts and
                                          Foreign Representatives
             458.       Cooperation and direct communication between court of the Virgin Islands
                        and foreign courts or foreign representatives
             459.       Cooperation and direct communication between the insolvency
                        administrator and foreign courts or foreign representatives
             460.       Forms of cooperation


                                            Concurrent Proceedings
             461.       Commencement of a Virgin Islands insolvency proceeding after
                        recognition of foreign main proceeding
             462.       Coordination of a Virgin Islands insolvency proceeding and foreign
                        proceeding
             463.       Coordination of more than one foreign proceeding
             464.       Presumption of insolvency based on recognition of foreign main
                        proceeding
             465.       Rule of payment in concurrent proceedings



                                                    PART XIX
                                   ORDERS IN AID OF FOREIGN PROCEEDINGS
             466.       Interpretation for this Part
             467.       Order in aid of foreign proceeding
             468.       Matters to be considered by Court in determining application under section
                        467
             469.       Limitation on effect of application under this Part
             470.       Additional assistance
             471.       Application under this Part
             472.       Authorisation of insolvency officer to act in foreign country



                                                     PART XX
                                          INSOLVENCY PRACTITIONERS
                                                    Licensing
             473.       Interpretation for this Part
             474.       Prohibition on acting as insolvency practitioner without a licence
             475.       Application for licence
             476.       Issue of licence
22-10920-mg          Doc 4-1     Filed 07/01/22 Entered 07/01/22 18:17:32              Exhibit A   Pg
                                              9 of 29
             LAW OF
          VIRGIN ISLANDS                      Insolvency Act                                  21
     Revision Date: 1 Jan 2020


           502.         Rules may provide for offences and penalties
           503.         Provisions of other enactments not to apply
          503A.         Disapplication and modification of the Financial Services Commission Act
           504.         (Omitted)
           505.         Act binding on Crown
                        SCHEDULE 1: Powers of Administration and Administrative Receiver
                        SCHEDULE 2: Powers of Liquidator
                        SCHEDULE 3: Liquidation of Foreign Company
                        SCHEDULE 4: Powers of Bankruptcy Trustee
                        SCHEDULE 5: Offences Under this Act
                        SCHEDULE 6: Disapplication and Modification of Financial Services
                                           Commission Act
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32            Exhibit A    Pg
                                                10 of 29
             LAW OF
          VIRGIN ISLANDS                        Insolvency Act                                23
      Revision Date: 1 Jan 2020



                                             INSOLVENCY ACT
                      (Acts 5 of 2003, 11 of 2004, 16 of 2004, 19 of 2006 and 1 of 2008)


          AN ACT TO REFORM THE LAW RELATING TO THE INSOLVENCY OF COMPANIES AND
          FOREIGN COMPANIES, LIMITED PARTNERSHIPS, PARTNERSHIPS AND INDIVIDUALS
          AND TO PROVIDE, IN PARTICULAR, FOR A MECHANISM FOR INSOLVENT PERSONS TO
          ENTER INTO ARRANGEMENTS WITH THEIR CREDITORS , AN ADMINISTRATION
          PROCEDURE FOR COMPANIES, THE RECEIVERSHIP OF COMPANIES AND FOREIGN
          COMPANIES, THE LIQUIDATION OF COMPANIES, FOREIGN COMPANIES, LIMITED
          PARTNERSHIPS AND PARTNERSHIPS, THE MAKING OF BANKRUPTCY ORDERS AGAINST
          INDIVIDUALS, THE LICENSING AND REGULATION OF INSOLVENCY PRACTITIONERS ,
          THE PENALISATION AND REDRESS OF WRONGDOING ASSOCIATED WITH INSOLVENT
          PERSONS, THE DISQUALIFICATION OF DIRECTORS, THE AVOIDANCE OF CERTAIN
          TRANSACTIONS, CROSS BORDER INSOLVENCY ISSUES AND OTHER MATTERS
          CONNECTED THEREWITH.



          Commencement
          [16 August 2004]

                                                      PART I
                                            PRELIMINARY PROVISIONS

          Short title
               1. This Act may be cited as the Insolvency Act.

          Interpretation
               2. (1) In this Act, unless the context otherwise requires—
          “administration order” has the meaning specified in section 76;
          “administrative receiver” has the meaning specified in section 142;
          “administrator”, in relation to a company, means an administrator appointed
                under section 79;
          “arrangement” means a company creditors’ arrangement under Part II, Division
                 2 or an individual creditors’ arrangement under Part II, Division 3, as the
                 case may be;
          “articles” means—
                           (a) the articles of association of a company; or
                           (b) where the context permits, in the case of a foreign company the
                               articles of association, by-laws or such other document having the
                               same effect by whatever name called;
          “asset” includes money, goods, things in action, land and every description of
                 property wherever situated and obligations and every description of
22-10920-mg    Doc 4-1     Filed 07/01/22 Entered 07/01/22 18:17:32                    Exhibit A        Pg
                                        11 of 29
                                                                                 LAW OF
    24                               Insolvency Act                           VIRGIN ISLANDS
                                                                            Revision Date: 1 Jan 2020


          interest, whether present or future or vested or contingent, arising out of,
          or incidental to, property;
    “bankrupt” means an individual against whom a bankruptcy order is made under
          Part XII;
    “bankruptcy trustee” means the person appointed by the Court to be the trustee
          of the assets of a bankrupt;
    “bankrupt’s estate” has the meaning specified in section 313;
    “board”, in relation to a body corporate, means—
              (a) the board of directors, committee of management, council or other
                  governing authority of the body corporate; or
              (b) if the body corporate has only one director, that director;
    “business day” means any day other than a Saturday, Sunday or public holiday in
          the Virgin Islands;
    “charge” includes a mortgage, a fixed charge and a floating charge, whether
          crystallised or not;
    “chargee” means the holder of a charge and includes a person in whose favour a
          charge is to be given or executed under an agreement, whether on demand
          or otherwise;
    “chattel leasing agreement” means an agreement for the bailment of goods which
           is capable of subsisting for more than 3 months;
    “Civil Procedure Rules” means the Eastern Caribbean Supreme Court Civil
           Procedure Rules 2000;
    “Commission” means the Financial Services Commission established under the
        Financial Services Commission Act; (Amended by Act 12 of 2001)
    “Companies Act” means the Companies Act, 1885;
    “company” has the meaning specified in section 3;
    “connected person”—
              (a) in relation to a company or a foreign company has the meaning
                  specified in section 5(1); and
              (b) in relation to an individual has the meaning specified in section
                  5(3);
    “Court” means the High Court;
    “court rate” means the rate of interest specified in section 7 of the Judgments
           Act;
    “creditor” and “secured creditor” have the meanings specified in section 9;
    “creditors’ committee” means a committee appointed under section 421;
    “director” has the meaning specified in section 6;
    “disqualification order” has the meaning specified in section 260(1);
    “disqualification undertaking” has the meaning specified in section 260(2);
    “document” means a document in any form and includes—
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32            Exhibit A    Pg
                                                12 of 29
             LAW OF
          VIRGIN ISLANDS                        Insolvency Act                                25
      Revision Date: 1 Jan 2020


                           (a) any writing or printing on any material;
                           (b) any record of information or data, however compiled, and
                               whether stored in paper, electronic, magnetic or any non-paper
                               based form and any storage medium or device, including discs
                               and tapes;
                           (c) books and drawings; and
                           (d) a photograph, film, tape, negative, facsimile or other medium in
                               which one or more visual images are embodied so as to be
                               capable (with or without the aid of equipment) of being
                               reproduced, and without limiting the generality of the foregoing,
                               includes any court application, order and other legal process and
                               any notice;
          “dollar” or “$” means the lawful currency for the time being of the United States
                 of America;
          “eligible insolvency practitioner” means an insolvency practitioner who is
                 eligible to act in relation to a company, foreign company or individual in
                 accordance with section 482;
          “floating charge” means a charge created by a company or a foreign company
                 which is, or as created was, a floating charge;
          “foreign company” means a body corporate that is incorporated, registered or
                 formed outside the Virgin Islands but excludes a company within the
                 meaning of section 3;
          “insolvency practitioner” means a person acting in a capacity specified in section
                 474(1);
          “insolvent”—
                           (a) in relation to a company or a foreign company, has the meaning
                               specified in section 8(1); and
                           (b) in relation to an individual, has the meaning specified in section
                               8(2);
          “Insurance Act” means the Insurance Act; (Amended by Act 1 of 2008)
          “insurance company” means a company or a foreign company that holds, a
                 licence under the Insurance Act or that at any time has held a licence
                 under the repealed Insurance Act 1994; (Amended by Acts 11 of 2004 and 1
                 of 2008)
          “interim supervisor” means the person appointed as the interim supervisor under
                 a proposal for an arrangement;
          “International Business Companies Act” means the International Business
                 Companies Act, 1984;
          “liability” has the meaning specified in section 10;
          “licensed insolvency practitioner” means a person holding a licence to act as an
                 insolvency practitioner issued under section 476;
          “liquidator”, in relation to a company or a foreign company, means a liquidator
                 appointed under section 159;
22-10920-mg    Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32                   Exhibit A        Pg
                                         13 of 29
                                                                                 LAW OF
    26                                Insolvency Act                          VIRGIN ISLANDS
                                                                            Revision Date: 1 Jan 2020


    “member”, in relation to a company, includes—
               (a) a member of a company limited by guarantee; and
               (b) a person to whom shares in a company have been transferred or
                   transmitted by law, even though that person is not a member of
                   the company within the meaning of the Companies Act;
    “memorandum” means—
               (a) the memorandum of association of a company; or
               (b) where the context permits, in the case of a foreign company its
                   memorandum of association or other constituting document, by
                   whatever name called;
    “officer”, in relation to a body corporate, includes a director and secretary of that
           body corporate but does not include an administrator, liquidator, receiver,
           supervisor or interim supervisor;
    “Official Receiver” means the Official Receiver appointed by the Commission
           under section 488;
    “preferential claim” means a claim of a type prescribed by the Rules as a
           preferential claim;
    “preferential creditor” means a creditor having a preferential claim;
    “prescribed” means prescribed by the Rules or the Regulations made under
           section 486 and “prescribed form” means a form specified in the Rules or
           those Regulations; (Amended by Act 11 of 2004)
    “prescribed priority” means—
               (a) in a liquidation, the priority for the payment of the costs and
                   expenses of a liquidation prescribed in the Rules; and
               (b) in a bankruptcy, the priority for the payment of the costs and
                   expenses of a bankruptcy prescribed in the Rules;
    “public document” has the meaning specified in section 13;
    “receiver” means the receiver of the whole or any part of the assets of a company
           or a foreign company and includes—
               (a) a manager and a receiver and manager;
               (b) a receiver of income; and
               (c) an administrative receiver;
    “receiver appointed out of court” means a receiver appointed in the exercise of a
           power conferred by a debenture or other instrument;
    “Registrar” means the Registrar of Corporate Affairs appointed under section
          229 of the BVI Business Companies Act; (Substituted by Act 16 of 2004)
    “regulated person” means a person that holds a prescribed financial services
           licence;
    “related company” means a company that is related to another company in
           accordance with section 5(2);
    “remuneration” includes properly incurred expenses and disbursements;
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32                Exhibit A    Pg
                                                14 of 29
             LAW OF
          VIRGIN ISLANDS                         Insolvency Act                                   27
      Revision Date: 1 Jan 2020


          “retention of title agreement” means any agreement for the sale of goods under
                 which the seller reserves title in the goods until payment, but excludes an
                 agreement that constitutes a charge on the goods;
          “Rules” means the Insolvency Rules made under section 498 and, where
                appropriate, the Rules made under sections 499 and 500; (Amended by Act
                11 of 2004)
          “security interest” includes a charge and a lien;
          “statement of affairs” means a statement of the affairs of a company or a foreign
                 company complying with section 277 and “verified statement of affairs”
                 means a statement of affairs that has been verified by affidavit;
          “statement of assets and liabilities” means a statement of the assets and liabilities
                 of an individual complying with section 366 and “verified statement of
                 assets and liabilities” means a statement of assets and liabilities that has
                 been verified by affidavit;
          “statutory demand” means a demand made under section 155;
          “subsidiary” and “holding company” have the meanings specified in section 4;
          “supervisor” means the person appointed to act as the supervisor of an
                arrangement under Part II;
          “unlicensed financial services business” has the meaning specified in section 7;
                 and
          “Virgin Islands court” means any court having jurisdiction in the Virgin Islands.
                 (2) References in this Act or in the Rules to the “venue” for any
          proceeding, attendance before the Court or for a meeting are to the time, date and
          place for the proceeding, attendance or meeting.

          Meaning of “company”
               3. Unless this Act expressly provides otherwise, “company” means—
                           (a) a company incorporated under the Companies Act;
                           (b) an international business company incorporated or continued
                               under the International Business Companies Act; or (Amended by
                               Act 16 of 2004)
                           (c) a company within the meaning specified in section 3(1) of the
                               BVI Business Companies Act. (Amended by Act 16 of 2004)

          Meaning of “subsidiary” and “holding company”
            4. (1) A company is a “subsidiary” of another company, its “holding
          company”, if that other company—
                           (a) holds a majority of the voting rights in it;
                           (b) is a member of it and has the right to appoint or remove a majority
                               of its board;
                           (c) is a member of it and controls alone, pursuant to an agreement
                               with other members, a majority of the voting rights in it, or if it is
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32            Exhibit A    Pg
                                                15 of 29
             LAW OF
          VIRGIN ISLANDS                        Insolvency Act                               105
      Revision Date: 1 Jan 2020


                                                     PART VI
                                                  LIQUIDATION
                                                  Preliminary

          Application of this Part to Official Receiver
           158. Where the Official Receiver is appointed as the liquidator or provisional
          liquidator of a company, the provisions of this Act that apply to a liquidator
          apply to the Official Receiver, as liquidator, unless otherwise provided.

          Appointment of liquidator
           159. (1) The Court may appoint the Official Receiver or an eligible insolvency
          practitioner as liquidator—
                           (a) of a company, on an application under section 162; or
                           (b) of a foreign company, on an application under section 163.
                 (2) Subject to subsection (5) and section 161, the members of a company
          may, by a qualifying resolution, appoint an eligible insolvency practitioner as
          liquidator of the company. (Amended by Act 11 of 2004)
                  (3) For the purposes of subsection (2), a resolution is a “qualifying
          resolution” if it is passed at a properly constituted meeting of the company by a
          majority of 75%, or if a higher majority is required by the memorandum or
          articles, by that higher majority, of the votes of those members who are present
          at the meeting and entitled to vote on the resolution.
                (4) The members of a foreign company may not appoint a liquidator
          under this Part and any resolution of the members of a foreign company that
          purports to appoint a liquidator under this Part is void and of no effect.
                 (5) The members of a company that is a regulated person may not appoint
          a liquidator under subsection (2) unless at least 5 business days written notice of
          the resolution, or such shorter period of notice as the Commission may agree to
          accept in writing, has been given to the Commission. (Inserted by Act 11 of 2004)
                 (6) A resolution passed in contravention of subsection (5) is void and of
          no effect. (Inserted by Act 11 of 2004)

          Duration of liquidation
           160. The liquidation of a company commences at the time at which a liquidator
          is appointed as provided in section 159 and continues until it is terminated in
          accordance with section 232 and, throughout this period, the company is referred
          to in this Act as “in liquidation”.

          Appointment of liquidator by members
           161. (1) The members of a company may not appoint a liquidator of the
          company if—
                           (a) an application to the Court to appoint a liquidator has been filed
                               and served but not yet determined; (Amended by Act 11 of 2004)
                           (b) a liquidator has been appointed by the Court; or
22-10920-mg    Doc 4-1     Filed 07/01/22 Entered 07/01/22 18:17:32                  Exhibit A        Pg
                                        16 of 29
                                                                               LAW OF
    106                              Insolvency Act                         VIRGIN ISLANDS
                                                                          Revision Date: 1 Jan 2020


              (c) the person to be appointed liquidator has not consented in writing
                  to his or her appointment, and a resolution to appoint a liquidator
                  in the circumstances referred to in paragraphs (a), (b) or (c) is
                  void and of no effect.
            (2) Where the members resolve to appoint a liquidator under section
    159(2), the company shall, as soon as practicable, give the liquidator notice of
    his or her appointment.
           (3) The members of a company may not appoint the Official Receiver as
    liquidator of the company, and any resolution of the members that purports to do
    so is void and of no effect.
         (3A) The acts of a liquidator appointed in breach of section 161(1)(a)
    carried out in good faith are valid provided that he or she is not aware of the
    breach. (Inserted by Act 11 of 2004)
          (4) A company that contravenes subsection (2) commits an offence.

    Appointment of liquidator by Court
     162. (1) The Court may, on application by a person specified in subsection (2),
    appoint a liquidator of a company under section 159(1) if—
              (a) the company is insolvent;
              (b) the Court is of the opinion that it is just and equitable that a
                  liquidator should be appointed; or
              (c) the Court is of the opinion that it is in the public interest for a
                  liquidator to be appointed.
          (2) Subject to subsections (3), (4) and (5), an application under subsection
    (1) may be made by one or more of the following—
              (a) the company;
              (b) a creditor;
              (c) a member;
              (d) the supervisor of a creditors’ arrangement in respect of the
                  company;
              (e) the Commission;
              (ea) the International Tax Authority; and (Inserted by Act 14 of 2019)
              (f) the Attorney General.
            (3) An application under subsection (1)(a) by a member may only be
    made with the leave of the Court, which shall not be granted unless the Court is
    satisfied that there is a prima facie case that the company is insolvent.
          (4) An application to appoint a liquidator under subsection (1)(c) may
    only be made by the Commission, the International Tax Authority or the
    Attorney General. (Amended by Act 14 of 2019)
           (5) The Commission may only make an application to appoint a
    liquidator under subsection (1)(c) if the company concerned is, or at any time has
    been, a regulated person or the company is carrying on, or at any time has
    carried on, unlicensed financial services business. (Amended by Act 19 of 2006)
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32               Exhibit A    Pg
                                                17 of 29
             LAW OF
          VIRGIN ISLANDS                        Insolvency Act                                  107
      Revision Date: 1 Jan 2020


                (5a) The International Tax Authority shall only make an application to
          appoint a liquidator under subsection (1)(c) if the company has been the subject
          of a determination by the International Tax Authority pursuant to section 10 of
          the Economic Substance (Companies and Limited Partnerships) Act to the effect
          that it has been carrying on a relevant activity in breach of the economic
          substance requirements or has been found to be in breach of the Mutual Legal
          Assistance (Tax Matters) Act; (Inserted by Act 14 of 2019)
                 (6) Where a creditors arrangement has terminated, the person who,
          immediately before the termination of the arrangement, was the supervisor is
          treated as the supervisor for the purposes of this section. (Amended by Act 11 of
          2004)
                 (7) An applicant may, in his or her application under this section, propose
          an eligible insolvency practitioner as liquidator of the company.
                (8) Where an order is made under section 159(1) at a time when an
          arrangement is in force in respect of the company, the Court may appoint the
          supervisor of the arrangement as liquidator of the company.

          Appointment of liquidator of a foreign company
           163. (1) The Court may, on application by a person specified in section 162(2),
          appoint a liquidator of a foreign company under section 159(1) if the Court is
          satisfied that the company has a connection with the Virgin Islands and—
                           (a) the company is insolvent;
                           (b) the Court is of the opinion that it is just and equitable that a
                               liquidator should be appointed;
                           (c) the Court is of the opinion that it is in the public interest for a
                               liquidator to be appointed;
                           (d) the company is dissolved or has otherwise ceased to exist under or
                               by virtue of the laws of the country in which it was last registered;
                           (e) the company has ceased to carry on business; or
                           (f) the company is carrying on business only for the purpose of
                               winding up its affairs.
                (2) For the purposes of subsection (1), a foreign company has a
          connection with the Virgin Islands only if—
                           (a) it has or appears to have assets in the Virgin Islands;
                           (b) it is carrying on, or has carried on, business in the Virgin Islands;
                               or
                           (c) there is a reasonable prospect that the appointment of a liquidator
                               of the company under this Part will benefit the creditors of the
                               company.
               (3) An application for the appointment of a liquidator of a foreign
          company may be made—
                           (a) notwithstanding that the company has been dissolved or has
                               otherwise ceased to exist under or by virtue of the laws of any
                               other country; and
22-10920-mg    Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32                 Exhibit A        Pg
                                         18 of 29
                                                                               LAW OF
    112                              Insolvency Act                         VIRGIN ISLANDS
                                                                          Revision Date: 1 Jan 2020


            (3) On the termination of the appointment of a provisional liquidator, the
    Court may give such directions or make such order with respect to the accounts
    of his or her administration, or to any other matters, as it considers appropriate.

    Power to stay or restrain proceedings etc.
     174. Where an application for the appointment of a liquidator of a company
    has been filed but not yet determined or withdrawn, a person specified in section
    170(2) may—
               (a) where any action or proceeding is pending against the company in
                   the Court, the Court of Appeal or the Privy Council, apply to the
                   Court, the Court of Appeal or the Privy Council, as the case may
                   be, for a stay of the action or proceeding; and
               (b) where any action or proceeding is pending against the company in
                   any other Virgin Islands court or tribunal in the Virgin Islands,
                   apply to the Court for a stay of the action or proceeding.
                                  Effect of Liquidation

    Effect of liquidation
     175. (1) Subject to subsection (2), with effect from the commencement of the
    liquidation of a company—
               (a) the liquidator has custody and control of the assets of the
                   company;
               (b) the directors and other officers of the company remain in office,
                   but they cease to have any powers, functions or duties other than
                   those required or permitted under this Part or authorised by the
                   liquidator; (Amended by Act 11 of 2004)
               (c) unless the Court otherwise orders, no person may—
                   (i) commence or proceed with any action or proceeding against
                       the company or in relation to its assets; or
                  (ii) exercise or enforce, or continue to exercise or enforce any
                       right or remedy over or against assets of the company;
               (d) unless the Court otherwise orders, no share in the company may
                   be transferred;
               (e) no alteration may be made in the status of or to the rights or
                   liabilities of a member, whether by an amendment of the
                   memorandum or articles or otherwise;
               (f) no member may exercise any power under the memorandum or
                   articles, or otherwise, except for the purposes of this Act; and
               (g) no amendment may be made to the memorandum or articles of the
                   company.
          (2) Subsection (1) does not affect the right of a secured creditor to take
    possession of and realise or otherwise deal with assets of the company over
    which that creditor has a security interest.
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32                Exhibit A    Pg
                                                19 of 29
             LAW OF
          VIRGIN ISLANDS                         Insolvency Act                                  113
      Revision Date: 1 Jan 2020


                (3) Anything or matter done or purported to be done in contravention of
          subsection (1) is void and of no effect.

          Restriction on execution or attachment
           176. (1) Subject to subsections (2) and (3), a creditor is not entitled to retain
          the benefit of any execution process, distress or attachment over or against the
          assets of a company in liquidation unless the execution, process or attachment is
          completed before the first occurring of the commencement of the liquidation
          and—
                           (a) where the liquidator was appointed by the members under section
                               159(2), the date upon which the creditor had notice of the calling
                               of the meeting at which the resolution was proposed; or
                           (b) where the liquidator was appointed by Court, the date upon which
                               the application to appoint the liquidator was filed.
                 (2) A person who, in good faith and for value, purchases assets of a
          company from an officer charged with an execution process acquires a good title
          as against the liquidator of the company.
                (3) The Court may set aside the rights conferred on a liquidator under
          subsection (1) to the extent and subject to such terms as it considers fit.
                     (4) For the purposes of this section—
                           (a) an execution or distraint against personal property is completed
                               by seizure and sale;
                           (b) an attachment of a debt is completed by the receipt of the debt;
                               and
                           (c) an execution against land is completed by sale, and in the case of
                               an equitable interest, by the appointment of a receiver.

          Duties of officer in execution process
            177. (1) Subject to subsection (6), where—
                           (a) assets of a company are taken in an execution process; and
                           (b) before completion of the execution process the officer charged
                               with the execution process receives notice that a liquidator or a
                               provisional liquidator of a company has been appointed, he or
                               she, on being required by the liquidator or provisional liquidator
                               to do so, deliver or transfer the assets and any money received in
                               satisfaction or partial satisfaction of the execution or paid to avoid
                               a sale of the assets, to the liquidator.
                 (2) The costs of the execution process are a first charge on any asset
          delivered or transferred to the liquidator under subsection (1) and the liquidator
          may sell all or some of the assets to satisfy that charge.
                  (3) Subject to subsections (4) and (6), if in an execution process in
          respect of a judgement for a sum exceeding $500, assets of a company are sold
          or money is paid to avoid a sale, the officer charged with the execution process
          shall retain the proceeds of sale or the money paid for a period of 14 days.
                     (4) If—
22-10920-mg    Doc 4-1     Filed 07/01/22 Entered 07/01/22 18:17:32                  Exhibit A        Pg
                                        20 of 29
                                                                               LAW OF
    116                             Insolvency Act                          VIRGIN ISLANDS
                                                                          Revision Date: 1 Jan 2020


              (c) doing all such things as may be necessary to protect the
                  company’s assets; and
              (d) exercising such other of the powers conferred on a liquidator by
                  section 186 as the Court may, on his or her application, sanction.

    Court appointed liquidator may dispense with creditors’ meeting
     183. A liquidator appointed by the Court is not required to call a meeting of
    creditors under section 179 if—
              (a) he or she considers that, having regard to the assets and liabilities
                  of the company, the likely result of the liquidation of the
                  company and any other relevant matters that it is not necessary
                  for a meeting to be held;
              (b) he or she gives notice to the creditors stating—
                   (i) that he or she does not consider it necessary for a meeting to
                       be held;
                  (ii) the reasons for his or her view; and
                  (iii) that a meeting will not be called unless 10% in value of the
                        creditors give written notice to the liquidator within 10 days
                        of receiving the notice, that they require a meeting to be
                        called; and
              (c) no notice requiring a meeting to be held is received by him or her.

                                      Liquidators

    Status of liquidator
     184. (1) In performing his or her functions and undertaking his or her duties
    under this Act, a liquidator, whether appointed by resolution of the members or
    by the Court, acts as an officer of the Court.
          (2) A liquidator is the agent of the company in liquidation.

    General duties of liquidator
     185. (1) The principal duties of a liquidator of a company are—
              (a) to take possession of, protect and realise the assets of the
                  company;
              (b) to distribute the assets or the proceeds of realisation of the assets
                  in accordance with this Act; and
              (c) if there are surplus assets remaining, to distribute them, or the
                  proceeds of realisation of the surplus assets, in accordance with
                  this Act.
          (2) The liquidator shall, subject to this Act and the Rules, use his or her
    own discretion in undertaking his or her duties.
22-10920-mg          Doc 4-1          Filed 07/01/22 Entered 07/01/22 18:17:32              Exhibit A    Pg
                                                   21 of 29
             LAW OF
          VIRGIN ISLANDS                           Insolvency Act                                 117
      Revision Date: 1 Jan 2020


               (2A) If it appears to the liquidator that the company has carried on
          unlicensed financial services business, he or she shall as soon as reasonably
          practicable report the matter to the Commission. (Inserted by Act 11 of 2004)
               (2B) Where the liquidator makes a report to the Commission under
          subsection (2A) he or she shall—
                           (a) send to the Commission a copy of every notice or other document
                               that he or she is required under this Part to send to a creditor or
                               the Court; and
                           (b) notify the Commission of any application made to the Court in or
                               in connection with the liquidation.
                                                (Inserted by Act 11 of 2004)
                 (3) A liquidator also has the other duties imposed by this Act and the
          Rules and such duties as may be imposed by the Court.

          General powers of liquidator
           186. (1) A liquidator of a company has the powers necessary to carry out the
          functions and duties of a liquidator under this Act and the powers conferred on
          him or her by this Act.
                 (2) Without limiting subsection (1), a liquidator has the powers specified
          in Schedule 2.
                 (3) The Court may provide that certain powers may only be exercised
          with the sanction of the Court—
                           (a) where the liquidator is appointed by the Court, on his or her
                               appointment or subsequently; or
                           (b) where the liquidator is appointed by the members, at any time.
                 (4) Where a liquidator disposes of any assets of the company to a person
          connected with the company, he or she shall notify the creditors’ committee, if
          any, of such disposition.
                 (5) The liquidator of a company, whether or not appointed by the Court,
          may at any time apply to the Court for directions in relation to a particular matter
          arising in the liquidation.
                 (6) The acts of a liquidator of a company are valid notwithstanding any
          defect in his or her nomination, appointment or qualifications. (Inserted by Act 11
          of 2004)

          Removal of liquidator
           187. (1) The Court may, on application by a person specified in subsection (2)
          or on its own motion, remove the liquidator of a company from office if—
                           (a) the liquidator—
                                  (i) is not eligible to act as an insolvency practitioner in relation
                                      to the company;
                                  (ii) breaches any duty or obligation imposed on him or her by or
                                       owed by him or her under this Act, the Rules or the
                                       Regulations made under section 486 or, in his or her capacity
22-10920-mg     Doc 4-1     Filed 07/01/22 Entered 07/01/22 18:17:32                    Exhibit A        Pg
                                         22 of 29
                                                                                  LAW OF
    124                               Insolvency Act                           VIRGIN ISLANDS
                                                                             Revision Date: 1 Jan 2020


               (a) a member of a company fails to comply with a call made under
                   section 204(1)(a); or
               (b) a member or past member fails to satisfy a liability when required
                   to do so under 204(1)(b).
           (2) On an application under subsection (1), the Court may order a
    member or past member to pay to the company any money due from him or her,
    or due from the estate of the person who he or she represents in accordance with
    section 204(1).
           (3) In the case of any company, whether limited or unlimited, when all
    the creditors are paid in full, together with interest at the official rate, any money
    due on any account whatever to a member from the company may be allowed to
    him or her by way of set-off against any subsequent call.

    Order under section 205 to be conclusive evidence
     206. An order made against a member under section 205 is, subject to any right
    of appeal, conclusive evidence that the money, if any, ordered to be paid is due.

    Distribution of assets of company
     207. (1) Unless and to the extent that this Act or any other enactment provides
    otherwise, the assets of a company in liquidation shall be applied—
               (a) in paying, in priority to all other claims, the costs and expenses
                   properly incurred in the liquidation in accordance with the
                   prescribed priority;
               (b) after payment of the costs and expenses of the liquidation, in
                   paying the preferential claims admitted by the liquidator in
                   accordance with the provisions for the payment of preferential
                   claims prescribed;
               (c) after payment of the preferential claims, in paying all other claims
                   admitted by the liquidator; and
               (d) after paying all admitted claims, in paying any interest payable
                   under section 215.
            (2) Subject to section 151, the claims referred to in subsection (1)(c) rank
    equally between themselves if the assets of the company are insufficient to meet
    the claims in full, they shall be paid rateably.
          (3) Any surplus assets remaining after payment of the costs, expenses and
    claims referred to in subsection (1) shall be distributed to the members in
    accordance with their rights and interests in the company.
           (4) For the purposes of this Act, assets held by a company in liquidation
    on trust for another person are not assets of the company.

                                           Claims

    Claims having priority over floating charges
     208. So far as the assets of a company in liquidation available for payment of
    the claims of unsecured creditors are insufficient to pay—
22-10920-mg    Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32                  Exhibit A        Pg
                                         23 of 29
                                                                                LAW OF
    140                              Insolvency Act                          VIRGIN ISLANDS
                                                                           Revision Date: 1 Jan 2020


                       appointment of the administrator or, if the company is in
                       liquidation, the liquidator; and
                   (ii) in the case of a transaction entered into with, or a preference
                        given to, any other person, the period commencing six
                        months prior to the onset of insolvency and ending on the
                        appointment of the administrator or, if the company is in
                        liquidation, the liquidator; and
               (b) for the purposes of section 248, the period commencing 5 years
                   prior to the onset of insolvency and ending on the appointment of
                   the administrator or, if the company is in liquidation, the
                   liquidator;
           (2) A transaction is an insolvency transaction if—
               (a) it is entered into at a time when the company is insolvent; or
               (b) it causes the company to become insolvent.
           (3) For the purposes of subsection (2), “insolvent” has the meaning
    specified in section 8(1) with the deletion of paragraph (c)(i).
           (4) This Part applies in respect of—
               (a) a company that is in administration; and
               (b) a company and a foreign company that is in liquidation and,
                   where appropriate, “company” includes a foreign company.

    Unfair preferences
     245. (1) Subject to subsection (2), a transaction entered into by a company is
    an unfair preference given by the company to a creditor if the transaction—
               (a) is an insolvency transaction;
               (b) is entered into within the vulnerability period; and
               (c) has the effect of putting the creditor into a position which, in the
                   event of the company going into insolvent liquidation, will be
                   better than the position he or she would have been in if the
                   transaction had not been entered into.
            (2) A transaction is not an unfair preference if the transaction took place
    in the ordinary course of business.
           (3) A transaction may be an unfair preference notwithstanding that it is
    entered into pursuant to the order of a court or tribunal in or outside the Virgin
    Islands.
            (4) Where a transaction entered into by a company within the
    vulnerability period has the effect specified in subsection (1)(c) in respect of a
    creditor who is a connected person, unless the contrary is proved, it is presumed
    that the transaction was an insolvency transaction and that it did not take place in
    the ordinary course of business.

    Undervalue transactions
     246. (1) Subject to subsection (2), a company enters into an undervalue
    transaction with a person if—
22-10920-mg          Doc 4-1          Filed 07/01/22 Entered 07/01/22 18:17:32            Exhibit A   Pg
                                                   24 of 29
             LAW OF
          VIRGIN ISLANDS                            Insolvency Act                            141
      Revision Date: 1 Jan 2020


                           (a) the company makes a gift to that person or otherwise enters into a
                               transaction with that person on terms that provide for the
                               company to receive no consideration; or
                           (b) the company enters into a transaction with that person for a
                               consideration the value of which, in money or money’s worth, is
                               significantly less than the value, in money or money’s worth, of
                               the consideration provided by the company; and
                           (c) in either case, the transaction concerned—
                                  (i) is an insolvency transaction; and
                                  (ii) is entered into within the vulnerability period.
                (2) A company does not enter into an undervalue transaction with a
          person if—
                           (a) the company enters into the transaction in good faith and for the
                               purposes of its business; and
                           (b) at the time when it enters into the transaction, there were
                               reasonable grounds for believing that the transaction would
                               benefit the company.
                  (3) A transaction may be an undervalue transaction notwithstanding that
          it is entered into pursuant to the order of a court or tribunal in or outside the
          Virgin Islands.
                 (4) Where a company enters into a transaction with a connected person
          within the vulnerability period and the transaction falls within subsection (1)(a)
          or subsection (1)(b), unless the contrary is proved, it is presumed that—
                           (a) the transaction was an insolvency transaction; and
                           (b) subsection (2) did not apply to the transaction.

          Voidable floating charges
           247. (1) Subject to subsection (2), a floating charge created by a company is
          voidable if—
                           (a) it is created within the vulnerability period; and
                           (b) it is an insolvency transaction.
                     (2) A floating charge is not voidable to the extent that it secures—
                           (a) money advanced or paid to the company, or at its direction, at the
                               same time as, or after, the creation of the charge;
                           (b) the amount of any liability of the company discharged or reduced
                               at the same time as, or after, the creation of the charge;
                           (c) the value of assets sold or supplied, or services supplied, to the
                               company at the same time as, or after, the creation of the charge;
                               and
                           (d) the interest, if any, payable on the amount referred to in
                               paragraphs (a) to (c) pursuant to any agreement under which the
                               money was advanced or paid, the liability was discharged or
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32                 Exhibit A     Pg
                                                25 of 29
             LAW OF
          VIRGIN ISLANDS                         Insolvency Act                                   157
      Revision Date: 1 Jan 2020


          Application for order of limited disclosure
           280. (1) Where an office holder considers that it would prejudice the conduct
          of the insolvency proceeding for the whole or part of a statement of affairs
          submitted to him or her to be disclosed, he or she may apply to the Court for an
          order of limited disclosure in respect of the statement of affairs, or any specified
          part of it.
                (2) The Court may, on an application under subsection (1), order that the
          statement of affairs or, as the case may be, the specified part of it—
                           (a) in the case of an administrative receivership, is not to be open to
                               inspection otherwise than with leave of the Court; or
                           (b) in any other case, is not filed in Court, or that it is filed separately
                               and that it is not to be open to inspection otherwise than with
                               leave of the Court.
                 (3) An order of the Court under subsection (2) may include directions as
          to the delivery of documents to the Registrar and the disclosure of relevant
          information to other persons.

                                                     Division 3
                                  Investigation of Insolvent Company’s Affairs
                                              Office Holder’s Powers

          Interpretation for this Division
            281. In this Division—
          “relevant period” has the meaning specified in section 275;
          “office holder”, in respect of a company, means its administrator, its liquidator
                 or its provisional liquidator and, in respect of a company in administration
                 or liquidation or in respect of which a provisional liquidator has been
                 appointed, includes the Official Receiver; (Amended by Act 11 of 2004)

          Power to obtain information
           282. (1) An office holder may, by notice in writing, require a person specified
          in subsection (2)—
                           (a) to provide him or her with such information concerning the
                               company, including the promotion, formation, business, dealings,
                               accounts, assets, liabilities or affairs as he or she reasonably
                               requires;
                           (b) to attend on him or her at such reasonable time and at such place
                               as may be specified in the notice; or
                           (c) to be examined on oath or affirmation by him or her, or by his or
                               her legal practitioner, on any matter referred to in paragraph (a).
                                                  (Amended by Act 11 of 2004)
                     (2) A notice under subsection (1) may be sent to—
                           (a) an officer or former officer of the company;
22-10920-mg    Doc 4-1     Filed 07/01/22 Entered 07/01/22 18:17:32                  Exhibit A        Pg
                                        26 of 29
                                                                               LAW OF
    158                              Insolvency Act                         VIRGIN ISLANDS
                                                                          Revision Date: 1 Jan 2020


               (b) a member or former member of the company;
               (c) a person who was involved in the promotion or formation of the
                   company;
               (d) a person who is, or within the relevant period has been, employed
                   by the company, including a person employed under a contract
                   for services;
               (e) a person who is, or at any time has been, a receiver, accountant or
                   auditor of the company;
               (f) a person who is or who, at any time has been, an officer of or in
                   the employment of a company which is an officer of the
                   company; or
               (g) if the office holder is the Official Receiver or a liquidator or
                   provisional liquidator to any person who has acted as
                   administrator, liquidator or provisional liquidator of the company.
                   (Amended by Act 11 of 2004)
          (3) A person who receives a notice under subsection (1) and who, without
    reasonable excuse, fails to comply with the notice, commits an offence.

    Examination by office holder
     283. (1) This section applies to the examination of a person under section
    282(1)(c) by an office holder.
           (2) The office holder, or the legal practitioner conducting the examination
    on his or her behalf, may administer an oath to, or take the affirmation of, a
    person to be examined.
           (3) A person required to be examined is entitled to be represented by a
    legal practitioner.
           (4) The office holder shall ensure that the examination is recorded in
    writing or by means of a tape recorder or other similar device.

                               Examination Before Court

    Application for examination before Court
     284. (1) Where a company is in liquidation, an application may be made to the
    Court, ex parte, by the liquidator or by the Official Receiver, for an order that a
    person specified in subsection (2) appear before the Court for examination
    concerning the company, or a connected company, including the promotion,
    formation, business, dealings, accounts, assets, liabilities or affairs of the
    company or connected company.
           (2) An application under subsection (1) may be made in respect of—
               (a) a person specified in section 282(2); or
               (b) any other person who the applicant considers is capable of giving
                   information concerning the company or a connected company; or
                   (Amended by Act 11 of 2004)
22-10920-mg          Doc 4-1      Filed 07/01/22 Entered 07/01/22 18:17:32             Exhibit A    Pg
                                               27 of 29
             LAW OF
          VIRGIN ISLANDS                       Insolvency Act                                243
      Revision Date: 1 Jan 2020


          Additional assistance
           470. Subject to section 443, nothing in this Part limits the power of the Court
          or an insolvency officer to provide additional assistance to a foreign
          representative where permitted under any other Part of this Act or under any
          other enactment or rule of law of the Virgin Islands.

          Application under this Part
           471. An application by a foreign representative under this Part shall be made to
          the Court in accordance with the Rules.

          Authorisation of insolvency officer to act in foreign country
           472. The Court may, on the application of an insolvency officer, authorise him
          or her to act in a foreign country on behalf of a Virgin Islands insolvency
          proceeding as permitted by the applicable foreign law.



                                                    PART XX
                                          INSOLVENCY PRACTITIONERS
                                                   Licensing

          Interpretation for this Part
            473. In this Part—
          “Code of Practice” means the Code of Practice that the Commission is
               empowered to issue under section 487(1);
          “Commission” means the Financial Services Commission established under the
              Financial Services Commission Act;
          “licence” means a licence to act as an insolvency practitioner granted under
                 section 476;
          “licensee” means a licensed insolvency practitioner;
          “overseas insolvency practitioner” means an individual resident outside the
                Virgin Islands appointed to act as an insolvency practitioner under section
                483; and
          “Regulations” means the Insolvency Practitioners Regulations made under
                section 486.

          Prohibition on acting as insolvency practitioner without a licence
           474. (1) For the purposes of this Act, a person acts as an insolvency
          practitioner by acting as—
                           (a) the administrator or administrative receiver of a company;
                           (b) the liquidator or provisional liquidator of a company or a foreign
                               company;
22-10920-mg      Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32                        Exhibit A       Pg
                                            28 of 29
                                                                                           LAW OF
    256                                    Insolvency Act                               VIRGIN ISLANDS
                                                                                   Revision Date: 1 Jan 2020


       16. Power to make any arrangement or compromise on behalf of the company.
       17. Power to call up any uncalled capital of the company.
        18. Power to rank and claim in the bankruptcy, liquidation, insolvency or sequestration
    of any person indebted to the company and to receive dividends, and to accede to trust deeds
    for the creditors of any such person.
       19. Power to make or defend an application for the winding up of the company.
       20. Power to amend the Memorandum of Association and to change the situation of the
    company’s registered office. (Amended by Act 11 of 2004)
       21. Power to do all things incidental to the exercise of the foregoing powers.
                                           ___________



                                           SCHEDULE 2
                                            (Section 186)
                                     POWERS OF LIQUIDATOR
       1.   Power to pay any class of creditors in full.
       2. Power to make a compromise or arrangement with creditors or persons claiming to
    be creditors, or having or alleging that they have any claim against the company, whether
    present or future, certain or contingent, ascertained or not.
       3.   Power to compromise, on such terms as may be agreed—
                (a) calls and liabilities to calls, debts and liabilities capable of resulting in
                    debts, and claims, whether present or future, certain or contingent,
                    ascertained or not, subsisting or supposed to subsist between the company
                    and any person; and
                (b) questions in any way relating to or affecting the assets or the liquidation of
                    the company, and take security for the discharge of any such call, debt,
                    liability or claim and give a complete discharge in respect of it.
       4. Power to commence, continue, discontinue or defend any action or other legal
    proceedings in the name and on behalf of the company.
       5. Power to carry on the business of the company so far as may be necessary for its
    beneficial liquidation.
       6.   Power to sell or otherwise dispose of property of the company.
       7. Power to do all acts and execute, in the name and on behalf of the company, any
    deeds, receipts or other document.
       8.   Power to use the company’s seal.
        9. Power to prove, rank and claim in the bankruptcy, liquidation, insolvency or
    sequestration of any member or past member for any balance against his or her estate, and to
    receive dividends, in the bankruptcy, liquidation, insolvency, sequestration or in respect of
    that balance, as a separate debt due from the bankrupt or insolvent, and rateably with the
    other separate creditors.
        10. Power to draw, accept, make and endorse any bill of exchange or promissory note in
    the name and on behalf of the company with the same effect with respect to the company’s
    liability as if the bill or note had been drawn, accepted, made or indorsed by or on behalf of
    the company in the course of its business.
22-10920-mg          Doc 4-1       Filed 07/01/22 Entered 07/01/22 18:17:32                    Exhibit A     Pg
                                                29 of 29
             LAW OF
          VIRGIN ISLANDS                          Insolvency Act                                     257
      Revision Date: 1 Jan 2020


             11. Power to borrow money, whether on the security of the assets of the company or
          otherwise.
              12. Power to take out in his or her official name letters of administration to any deceased
          member or past member or debtor, and to do any other act necessary for obtaining payment
          of any money due from a member or past member or debtor, or his or her estate, that cannot
          conveniently be done in the name of the company. For the purpose of enabling the liquidator
          to take out letters of administration or do any other act under this paragraph, to be due to the
          liquidator himself or herself.
               13. Power to call meetings of creditors or members for—
                           (a) the purpose of informing creditors or members concerning the progress of
                               or matters arising in the liquidation;
                           (b) the purpose of ascertaining the views of creditors or members on any matter
                               arising in the liquidation; or
                           (c) such other purpose connected with the liquidation as the liquidator
                               considers fit.
              14. Power to appoint a solicitor, accountant or other professionally qualified person to
          assist him or her in the performance of his or her duties.
             15. Power to appoint an agent to do any business that the liquidator is unable to do
          himself or herself, or which can be more conveniently done by an agent.
                                                 ___________



                                                   SCHEDULE 3
                                                    (Section 163)
                                       LIQUIDATION OF FOREIGN COMPANY
             1. Part VI applies to the liquidation of a foreign company with the modifications and
          exclusions specified in this Schedule.
             2. A foreign company is deemed to be insolvent if, in addition to the circumstances
          specified in section 8(1), it fails to comply with the requirements of a notice issued in
          accordance with paragraph 4.
             3. Where a person has instituted an action or other proceeding against any member of a
          foreign company for any debt or demand due, or claimed to be due, from the company or
          from him or her in his or her character as member, that person may issue a notice to the
          company in accordance with paragraph 4.
               4.    A notice under this Schedule shall—
                           (a) be in writing and shall specify the action or proceeding that has been
                               instituted;
                           (b) be signed by the person who instituted the action or proceeding or by a
                               person authorised to issue the notice on his or her behalf;
                           (c) require the company to pay, secure or compound for the debt or demand, or
                               to procure the action or proceeding to be stayed or to indemnify the
                               defendant to his or her reasonable satisfaction against the action or
                               proceeding, and against all costs, damages and expenses to be incurred by
                               him or her because of it;
